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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
OEPUTY cern WY

DALLAS DIVISION
UNITED STATES OF AMERICA _ NO, 3:18-CR-00432-K
¥V.
RAFAEL RUBI (2)
PLEA AGREEMENT

Rafael Rubi, the defendant, Heath Harris, the defendant’s attorney, and the United
States of America (the “government”) agree as follows:
1. Rights of the defendant: The defendant understands that he has the rights:

a. to plead not guilty;
b. to have a trial by jury;
c. to have the defendant’s guilt proven beyond a reasonable doubt;

d, to confront and cross-examine witnesses and to call witnesses in the
defendant’s defense; and

e. against compelled self-incrimination.

2. Waiver of rights and plea of guilty: The defendant waives these rights
and pleads guilty to Counts One, Two, and Three of the Superseding Information,
charging violations of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, that is, Possession with
Intent To Distribute a Controlled Substance and Aiding and Abetting (Count One); 18
U.S.C. § 924(c)\(1)(A)(), that is, Possession of a Firearm in Furtherance of a Drug

Trafficking Crime (Count Two); and 18 U.S.C. § 922(g)(1), that is, Possession of a

Plea Agreement—Page 1

 
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 2of10 PagelD 504

Firearm and Ammunition by a Convicted Felon (Count Three), The defendant

understands the nature and elements of the crimes to which he is pleading guilty, and

agrees that the factual resume he has signed is true and will be submitted as evidence.

3, Sentence:

Count One: The minimum and maximum penalties the Court can impose for

Count One of the Superseding Information include:

a.

Plea Agreement—Page 2

imprisonment for a period not to exceed 20 years;

a fine not to exceed $1,000,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

a term of supervised release of at least 3 years, which is mandatory
under the law and will follow any term of imprisonment. Ifthe
defendant violates the conditions of supervised release, the
defendant could be imprisoned for the entire term of supervised
release;

a mandatory special assessment of $100;

restitution to victims or to the community, which may be mandatory
under the law, and which the defendant agrees may include
restitution arising from all relevant conduct, not limited to that
arising from the offense of conviction alone;

costs of incarceration and supervision;

forfeiture of property; and

permanent ineligibility for any or all “federal benefits” as defined in
21 U.S.C. § 862(d).
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 3of10 PagelD 505

Count Two: The minimum and maximum penalties the Court can impose for

Count Two of the Superseding Information include:

a.

g.

imprisonment for a period not less than 5 years and not to exceed
life, which must run consecutively to any other term of
imprisonment;

a fine not to exceed $250,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

a term of supervised release of not more than 5 years, which may be
mandatory under the law and will follow any term of imprisonment.
If the defendant violates the conditions of supervised release, the
defendant could be imprisoned for the entire term of supervised
release; .

a mandatory special assessment of $100;

restitution to victims or to the community, which may be mandatory
under the law, and which the defendant agrees may include
restitution arising from all relevant conduct, not limited to that
arising from the offense of conviction alone;

costs of incarceration and supervision; and

forfeiture of property.

Count Three: The minimum and maximum penalties the Court can impose for

Count Three of the Superseding Information include:

a.

b.

Plea Agreement—Page 3

imprisonment for a period not to exceed 10 years;

a fine not to exceed $250,000,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

a term of supervised release of not more than 3 years, which may be
mandatory under the law and will follow any term of imprisonment.
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 4of10 PagelD 506

If the defendant violates the conditions of supervised release, the
defendant could be imprisoned for the entire term of supervised

release;
d. a mandatory special assessment of $100;
e. restitution to victims or to the community, which may be mandatory

under the law, and which the defendant agrees may include
restitution arising from all relevant conduct, not limited to that
arising from the offense of conviction alone;

f. costs of incarceration and supervision; and

g. forfeiture of property.
The defendant understands that the Court may order that he serve his sentences for
each of the foregoing Counts consecutive to each other.

4, Immigration consequences: The defendant recognizes that pleading
guilty may have consequences with respect to his immigration status if he is not a citizen
of the United States. Under federal law, a broad range of crimes are removable offenses.
The defendant understands this may include the offense to which he is pleading guilty,
and for purposes of this plea agreement, the defendant assumes the offense is a
removable offense. Removal and other immigration consequences are the subject ofa
separate proceeding, however, and the defendant understands that no one, including the
defendant’s attorney or the district court, can predict to a certainty the effect of the
defendant’s conviction on his immigration status. The defendant nevertheless affirms

that he wants to plead guilty regardless of any immigration consequences that his plea of

Plea Agreement--Page 4
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page5of10 PagelD 507

guilty may entail, even if the consequence is the defendant’s automatic removal from the
United States.

5. Court’s sentencing discretion and role of the Guidelines: The defendant
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. The defendant has reviewed the guidelines with his attorney, but
he understands that no one can predict with certainty the outcome of the Court’s
consideration of the guidelines in this case. The defendant will not be allowed to
withdraw his plea if his sentence is higher than expected. The defendant fully
understands that the actual sentence imposed (so long as it is within the statutory
maximum) is solely in the discretion of the Court.

6. Mandatory special assessment: The defendant agrees to pay to the U.S.
District Clerk the amount of $300 in satisfaction of the mandatory special assessment in
this case.

7. Defendant’s agreement: The defendant shall give complete and truthful
information and/or testimony concerning the defendant’s participation in the offense of
conviction. Upon demand, the defendant shall submit a personal financial statement
under oath and submit to interviews by the government and the U.S. Probation Office
regarding the defendant’s capacity to satisfy any fines or restitution. The defendant
expressly authorizes the United States Attorney’s Office to immediately obtain a credit
report on the defendant in order to evaluate the defendant’s ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

Plea Agreement-—Page 5
 

 

Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page6of10 PagelD 508

obligation imposed by the Court, including a restitution order and/or the implementation
of a fine, is due and payable immediately. In the event the Court imposes a schedule for
payment of restitution, the defendant agrees that such a schedule represents a minimum
payment obligation and does not preclude the U.S. Attorney’s Office from pursuing any
other means by which to satisfy the defendant’s full and immediately enforceable
financial obligation. The defendant understands that the defendant has a continuing
obligation to pay in full as soon as possible any financial obligation imposed by the
Court.

8. Forfeiture of property: The defendant agrees not to contest, challenge, or
appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United
States of any property noted as subject to forfeiture pursuant to the plea of guilty,
specifically the forfeiture of the Glock, model 30, .45 caliber pistol, bearing serial
number SKA280, and any ammunition seized with the firearm; a Glock, model 19, 9
millimeter pistol, bearing serial number BAVN944, and ammunition seized with the
firearm; and the Ruger .380 caliber pistol, bearing serial number 371345961, and any
ammunition seized with the firearm.

The defendant agrees that this property is subject to forfeiture under 21 U.S.C.

§ 853(a) and/or 18 U.S.C. § 924(d). The defendant consents to entry of any orders or
declarations of forfeiture regarding such property and waives any requirements (including
notice of forfeiture) set out in 19 U.S.C. §§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985;
the Code of Federal Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal

Procedure. The defendant agrees to provide truthful information and evidence necessary

Plea Agreement—Page 6
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 7of10 PagelD 509

for the government to forfeit such property. The defendant agrees to hold the
government, its officers, agents, and employees harmless from any claim whatsoever in
connection with the seizure, forfeiture, storage, or disposal of such property.

9. Government’s agreement: The government will not bring any additional
charges against the defendant based upon the conduct underlying and related to the
defendant’s plea of guilty, The government will file a Supplement in this case, as is
routinely done in every case, even though there may or may not be any additional terms.
The government will dismiss, after sentencing, any remaining charges in the pending
indictment and Superseding Information. This agreement is limited to the United States
Attorney’s Office for the Northern District of Texas and does not bind any other federal,
state, or local prosecuting authorities, nor does it prohibit any civil or administrative
proceeding against the defendant or any property.

10. Violation of agreement: The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant’s guilty plea is vacated or
withdrawn, the government will be free from any obligations of the agreement and free to
prosecute the defendant for all offenses of which it has knowledge. In such event, the
defendant waives any objections based upon delay in prosecution. Ifthe plea is vacated
or withdrawn for any reason other than a finding that it was involuntary, the defendant
also waives objection to the use against the defendant of any information or statements
the defendant has provided to the government, and any resulting leads.

11. Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

Plea Agreement—Page 7

 

 
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 8of10 PagelD 510

agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

12. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to
appeal the conviction, sentence, fine and order of restitution or forfeiture in an amount to
be determined by the district court. The defendant further waives his right to contest the
conviction, sentence, fine and order of restitution or forfeiture in any collateral
proceeding, including proceedings under 28 U.S.C. § 2241 and 28 U.S.C. § 2255. The
defendant, however, reserves the rights (a) to bring a direct appeal of (i) a sentence
exceeding the statutory maximum punishment, or (ii) an arithmetic error at sentencing,
(b) to challenge the voluntariness of the defendant’s plea of guilty or this waiver, and
(c) to bring a claim of ineffective assistance of counsel.

13. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with his attorney and is fully satisfied with that
attorney’s legal representation. The defendant has received from his attorney
explanations satisfactory to the defendant concerning each paragraph of this plea
agreement, each of the defendant’s rights affected by this agreement, and the alternatives
available to the defendant other than entering into this agreement. Because the defendant
concedes that he is guilty, and after conferring with his attorney, the defendant has
concluded that it is in his best interest to enter into this plea agreement and all its terms,

rather than to proceed to trial in this case.

Plea Agreement—Page 8

 

 
Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page9of10 PagelD 511

14. Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties. This agreement supersedes any and all other promises,
representations, understandings, and agreements that are or were made between the
parties at any time before the guilty plea is entered in court. No promises or
representations have been made by the United States except as set forth in writing in this
plea agreement.

AGREED TO AND SIGNED this day of August, 2019.

ERIN NEALY COX
UNITED STATES ATTORNEY

frida, btiO

Rebekah Ricketts

Texas Bar No. 24074883

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Keith Robinson “~~
Section Chief

Plea Agreement—Page 9
 

Case 3:18-cr-00432-K Document 96 Filed 08/26/19 Page 10o0f10 PagelD 512

I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

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RAFAEL RUBI Date

 

I am the defendant’s attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client’s decision to enter
into this plea agreement is an informed and voluntary one.

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HEATH HARRIS Date

Attorney for Defendant

 

Plea Agreement—-Page 10
